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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

DOUGLAS HALLOWELL

              Plaintiff,                 JURY TRIAL

V.                                                     CIVIL ACTION NO
                                                       3:11-CV-1294 (SRU)

MAIN STREET ACQUISITION CORP.

LAW OFFICE OF HOWARD LEE SCHIFF, P.C.

Defendants.                                     OCTOBER 2, 2011
                            NOTICE OF DISSMISSAL

The plaintiff through his attorney Bernard T. Kennedy stipulates that the claims in

the above-entitled action shall be dismissed without prejudice and without costs,

subject to approval of the Court.




                                                THE PLAINTIFF

                                                BY/S/Bernard T. Kennedy
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                                  CERTIFICATION

I hereby certify that on 10/2/11 a copy of the foregoing was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the Court’s electronic
filing system or by mail to anyone unable to accept electronic filing as indicated
on the Notice of Electronic Filing. Parties may access this filing through the
Court’s CM/ECF System.




BY/S/Bernard T. Kennedy
